Case 2:22-cv-01257-GRB-AYS Document 24-1 Filed 09/19/22 Page 1 of 4 PageID #: 162




                         EXHIBIT A
•                                                     •
      Case 2:22-cv-01257-GRB-AYS Document 24-1 Filed 09/19/22 Page 2 of 4 PageID #: 163
                                                                                                                      •
                                                                                                             AMINK.




                                                                                                MEMBERSHIP
    CERTIFICATE NO.                                                                              INTEREST
          -1-                                                                                       100%




                                    ADESA NEW YORK, LLC
                             Organized under the laws of the State of New York



              This certifies that ADESA, Inc. is the owner of One Hundred Percent (100%) of the
         membership interest of ADESA New York, LLC (the "Company") transferable only on the
         books of this Company in person or by attorney upon surrender of this certificate properly
         endorsed.

              IN WI       SS WHEREOF, the Company has caused               jrtificate to be signed by its
         duly authori ei re •; -sentatives this 12th day of June, 20

                  lagemmi
                                  Manager                              Paul J.             er
               le-keU,
                 err



                                                                                                                          h
                                                                                                •
Case 2:22-cv-01257-GRB-AYS Document 24-1 Filed 09/19/22 Page 3 of 4 PageID #: 164




    The membership interest represented by this certificate was acquired for investment only and not
    for resale. It has not been registered under the Federal Securities Act of 1933, as amended, or any
    state securities law. The membership interest may not be sold, transferred, pledged or
    hypothecated unless first registered under such laws, or unless the Company has received an
    opinion of counsel satisfactory to it that registration under such laws is not required.

    The Company shall furnish to the holder of this certificate, on request in writing and without
    charge, a summary of the designations, relative rights, preferences, and limitations applicable to
    the membership interest.
                                                                          100%
                                                                           of
                                                                          Membership
                                                                          Interest
    The units represented by this certificate are subject to, and transferable only in accordance with
    certain restrictions on transfer contained in the Operating Agreement, a copy of which is on file
    with the Company.

    This certificate evidences an interest in ADESA New York, LLC and shall be a security for
    purposes of Article 8 of the Uniform Commercial Code as in effect in the state of its jurisdiction of
    formation.
    Case 2:22-cv-01257-GRB-AYS Document 24-1 Filed 09/19/22 Page 4 of 4 PageID #: 165




                                           CERTIFICATE POWER

                    FOR VALUE RECEIVED, the undersigned hereby pledges, sells, assigns and
            transfers unto                                     , 100% of the membership interest (the
            "Interest") of ADESA New York, LLC, a limited liability company organized under the
            laws of the state of New York (the "Company"), standing in its name on the books of the
            Company represented by Certificate No. 1 attached hereto, and does hereby irrevocably
            constitute and appoint                                    as its attorney-in-fact with full
            power of substitution to transfer the Interest on the books of the Company.

            Dated:




                                                         By:

•                                                        Name:
                                                                  President & CEO
                                                         Title:




•
